Case 2:21-cv-01102-DSF-MRW Document 48 Filed 03/29/22 Page 1 of 2 Page ID #:1429

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                    CASE NUMBER:


   JEFFREY B. SEDLIK                                                  2:21−cv−01102−DSF−MRW
                                                    Plaintiff(s),

            v.
   KATHERINE VON DRACHENBERG, et al.
                                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                                  Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




   PLEASE TAKE NOTICE:

   The following problem(s) have been found with your electronically filed document:

   Date Filed:         3/28/2022
   Document Number(s):                 45
   Title of Document(s): Opposition to Defendants' Motion for Summary Judgment or
   Partial Summary Judgment
   ERROR(S) WITH DOCUMENT:

   Incorrect document is attached to the docket entry.

   Incorrect event selected. Correct event to be used is: Objection/Opposition (Motion Related) − under Category
   − Responses, Replies and Other Motion Related Documents




   Other:

   Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
   document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
   notice unless and until the Court directs you to do so.


                                                     Clerk, U.S. District Court

   Dated: March 29, 2022                             By: /s/ Jenny Lam Jenny_Lam@cacd.uscourts.gov
                                                        Deputy Clerk

   cc: Assigned District Judge and/or Magistrate Judge



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Case 2:21-cv-01102-DSF-MRW                 Document 48 Filed 03/29/22 Page 2 of 2 Page ID #:1430
       Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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